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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  ROSA ZAZUETA, et al.                                                5:23−cv−01825−WLH−SHK
                                                   Plaintiff(s),

           v.
  COUNTY OF RIVERSIDE, et al.
                                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).        ELECTRONICALLY FILED DOCUMENT




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                                                           Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

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